Case 1:05-cr-00163-PLM          ECF No. 661, PageID.2050            Filed 08/25/06      Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:05-cr-00163
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
JAMOKENTEYATTE CURTIS HAMPTON,)
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 24, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Jamokenteyatte Curtis Hampton entered a plea of guilty to Count One of the

Fourth Superseding Indictment, charging defendant with conspiracy to distribute and possess with

intent to distribute cocaine base, cocaine, heroin and marijuana in violation of 21 U.S.C. §§ 846,

841(a)(1) and (b)(1)(A), in exchange for the undertakings made by the government in the written

plea agreement. On the basis of the record made at the hearing, I find that defendant is fully capable

and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
Case 1:05-cr-00163-PLM          ECF No. 661, PageID.2051             Filed 08/25/06      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count One of the Fourth

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. I further recommend that the August 24, 2006 plea proceeding remain

under seal, that any transcript of the plea proceeding be filed under seal, and that the plea agreement

(Dkt. 638) remain under seal. The clerk is directed to procure a copy of the sealed transcript of the

plea hearing for review by the Honorable Robert Holmes Bell prior to sentencing.



Date: August 25, 2006                                   /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                               - 2 -
